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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA ex rel. Thomas               )
  P. Fischer, et al.,                                   )
                                                        )
                                Plaintiffs,             )
                                                        )
                           v.                           )       No. 1:14-cv-01215-RLY-MKK
                                                        )
  COMMUNITY HEALTH NETWORK, INC., et                    )
  al.,                                                  )
                                                        )
                                Defendants.             )

                                              MINUTE ENTRY

         Except for the United States of America, who appeared telephonically, the Parties, by

  counsel, appeared for a hearing on the State of Indiana's Motion for Leave to Intervene, (dkt.

  728), on February 16, 2024, in front of the Magistrate Judge. The Court heard argument and will

  rule on the Motion in a separate Order.

         In light of the additional information provided by the State of Indiana during oral

  argument, Defendants are given leave to supplement their response to the State's Motion, (dkt.

  744), and Relator is given leave to file a response, should he wish. Defendants' and Relator's

  responses, if any, shall be filed no later than March 1, 2024. If Relator opts not to file a

  response, he shall notify the Court of his election not to respond.

         So ORDERED.

         Date: 2/16/2024




  Distribution:

  All ECF-registered counsel of record via email
